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1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF MISSOURI
                                                      KANSAS CITY DIVISION


              In Re:                                             §
                                                                 §
              ALAN BAILEY CRAINE, JR.                            §     Case No. 18-40338-CAN7
                                                                 §
                                  Debtor                         §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      Jerald S. Enslein, Bankruptcy Trustee, chapter 7 trustee, submits this Final Account,
              Certification that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 46,175.00                              Assets Exempt: 9,780.00
              (Without deducting any secured claims)

              Total Distributions to Claimants: 1,664.03               Claims Discharged
                                                                       Without Payment: 66,090.19

              Total Expenses of Administration: 798.19


                      3) Total gross receipts of $ 2,462.22 (see Exhibit 1), minus funds paid to the debtor and
              third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 2,462.22 from the liquidation of
              the property of the estate, which was distributed as follows:




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                                                  CLAIMS              CLAIMS              CLAIMS                 CLAIMS
                                                SCHEDULED            ASSERTED            ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                    $ 52,533.85         $ 12,212.09          $ 12,212.09                    $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA               798.19               798.19                   798.19

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA                  NA                   NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                   NA                 0.00                 0.00                      0.00

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                               28,127.00           29,094.37            29,094.37                 1,664.03

TOTAL DISBURSEMENTS                                 $ 80,660.85         $ 42,104.65          $ 42,104.65                $ 2,462.22


                  4) This case was originally filed under chapter 7 on 02/07/2018 . The case was pending
          for 12 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 01/29/2019                         By:/s/Jerald S. Enslein, Bankruptcy Trustee
                                                                                 Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                EXHIBITS TO
                                                              FINAL ACCOUNT


               EXHIBIT 1 – GROSS RECEIPTS

                              DESCRIPTION                                   UNIFORM                                    $ AMOUNT
                                                                           TRAN. CODE1                                 RECEIVED

    Cash On Hand                                                               1129-000                                         50.00

    Nbkc Bank                                                                  1129-000                                         47.58

    Us Bank                                                                    1129-000                                         23.64

     2017 federal and state income tax refunds (u)                             1224-000                                       2,341.00

TOTAL GROSS RECEIPTS                                                                                                      $ 2,462.22
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


               EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                      PAYEE                                      DESCRIPTION                         UNIFORM           $ AMOUNT
                                                                                                    TRAN. CODE            PAID

NA                                                                                                      NA                        NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                     $ NA
THIRD PARTIES


               EXHIBIT 3 – SECURED CLAIMS

                                                    UNIFORM       CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.     SCHEDULED                                               CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                     CODE     (from Form 6D)

                Citibank/Sears, PO Box 6282
                Sioux Falls, SD 57117-6282                              786.00                 NA                 NA              0.00




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                                                  UNIFORM        CLAIMS
                                                                                  CLAIMS           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.      SCHEDULED                                            CLAIMS PAID
                                                                                 ASSERTED         ALLOWED
                                                   CODE      (from Form 6D)

              Wells Fargo Home Mortgage,
              Bankruptcy
              Dept/Correspondence PO Box
              10335 Des Moines, IA 50306                            37,873.85                NA              NA              0.00


1-1           National Bank of Kansas City 4210-000                 13,874.00        12,212.09        12,212.09              0.00

TOTAL SECURED CLAIMS                                              $ 52,533.85       $ 12,212.09      $ 12,212.09           $ 0.00


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                              CLAIMS             CLAIMS            CLAIMS
                PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                            SCHEDULED           ASSERTED          ALLOWED
                                            CODE

Jerald S. Enslein                           2100-000                    NA             615.56            615.56           615.56


Jerald S. Enslein                           2200-000                    NA             161.80            161.80           161.80


International Sureties, LTD                 2300-000                    NA                 0.83             0.83             0.83


Associated Bank                             2600-000                    NA              20.00             20.00            20.00

TOTAL CHAPTER 7 ADMIN. FEES                                           $ NA           $ 798.19          $ 798.19          $ 798.19
AND CHARGES



             EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                              CLAIMS             CLAIMS            CLAIMS
                PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                            SCHEDULED           ASSERTED          ALLOWED
                                            CODE

NA: NA                                            NA                    NA                 NA               NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                            $ NA              $ NA              $ NA              $ NA
FEES AND CHARGES




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            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                              CLAIMS             CLAIMS
                                                 UNIFORM
                                                            SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form       (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)              Claim)

                                                                       0.00                 NA              NA              0.00

TOTAL PRIORITY UNSECURED                                              $ NA               $ 0.00          $ 0.00           $ 0.00
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                              CLAIMS             CLAIMS
                                                 UNIFORM
                                                            SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form       (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)              Claim)

2-1          National Bank of Kansas City 7100-000               28,000.00           28,966.91       28,966.91         1,656.74


             PYOD LLC its successors &
             assgns as assgnee of
3-1          Synchrony Bk                        7100-000           127.00               127.46         127.46              7.29

TOTAL GENERAL UNSECURED                                         $ 28,127.00        $ 29,094.37      $ 29,094.37       $ 1,664.03
CLAIMS




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                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                   ASSET CASES
                                                                                                                                                                                                      Exhibit 8
Case No:              18-40338                      CAN           Judge:        Cynthia A. Norton                           Trustee Name:                      Jerald S. Enslein, Bankruptcy Trustee
Case Name:            ALAN BAILEY CRAINE, JR.                                                                               Date Filed (f) or Converted (c):   02/07/2018 (f)
                                                                                                                            341(a) Meeting Date:               03/15/2018
For Period Ending:    01/29/2019                                                                                            Claims Bar Date:                   10/13/2018


                                   1                                           2                            3                            4                          5                             6

                         Asset Description                                   Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                      Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                             Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                       Exemptions,                                                                              Assets
                                                                                                     and Other Costs)

  1. Real Property                                                                  40,000.00                        0.00                                                       0.00                        FA

     732 Ley Street
     Excelsior Springs, MO 64024-0000
  2. 2011 Dodge Caliber                                                              5,475.00                        0.00                                                       0.00                        FA

     2011 Dodge Caliber Heat Mileage: 120,000+, VIN
     1B3CB5HA4BD160641
  3. 2004 Ford Focus ZX3                                                                 450.00                      0.00                                                       0.00                        FA

     2004 Ford Focus ZX3 VIN 3FAFP31Z64R112964
  4. HOUSEHOLD GOODS AND FURNISHINGS                                                     300.00                      0.00                                                       0.00                        FA

     Household goods, furnishings, wall hangings, knick knacks,
     yard toolss, and equipment, etc.
  5. Washer & Dryer                                                                      700.00                      0.00                                                       0.00                        FA

     Washer & Dryer
  6. Electronics                                                                         700.00                      0.00                                                       0.00                        FA

     One smartphone, one computer, two televisions, one gaming
     system, and other miscellaneous electronics
  7. CLOTHES                                                                             120.00                      0.00                                                       0.00                        FA

     Wearing apparel, clothing and shoes.
  8. Non-farm animals                                                                      0.00                      0.00                                                       0.00                        FA

     1 pet cat
  9. Cash On Hand                                                                        650.00                      0.00                                                    50.00                          FA

     Cash on hand
 10. Nbkc Bank                                                                            50.00                      0.00                                                    47.58                          FA

     NBKC Bank




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                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                           Exhibit 8
Case No:              18-40338                         CAN            Judge:        Cynthia A. Norton                            Trustee Name:                      Jerald S. Enslein, Bankruptcy Trustee
Case Name:            ALAN BAILEY CRAINE, JR.                                                                                    Date Filed (f) or Converted (c):   02/07/2018 (f)
                                                                                                                                 341(a) Meeting Date:               03/15/2018
For Period Ending:    01/29/2019                                                                                                 Claims Bar Date:                   10/13/2018


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/               Est Net Value                Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled           (Value Determined by                Abandoned                  Received by                Administered (FA)/
                                                                                 Values               Trustee, Less Liens,               OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                                Assets
                                                                                                        and Other Costs)

 11. Us Bank                                                                                 28.00                        0.00                                                    23.64                          FA

     US Bank
 12. Fidelity Investments                                                                 7,610.00                        0.00                                                       0.00                        FA

     Fidelity Investments
 13. INTERESTS IN INSURANCE POLICIES                                                          0.00                        0.00                                                       0.00                        FA

     Term life insurance through employer
 14. INTERESTS IN INSURANCE POLICIES                                                          0.00                        0.00                                                       0.00                        FA

     Term life insurance through State Farm
 15. 2017 federal and state income tax refunds (u) (u)                                        0.00                        0.00                                                2,341.00                           FA

     2018 federal, Kansas, and Missouri income tax refunds in the
     amounts of $1,663.00, $99.00, and $579.00, respectively, or
     an aggregate sum of $2,341.00. (u)


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $56,083.00                      $0.00                                                $2,462.22                         $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




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Trustee collected the nonexempt portions of funds on deposit with financial institutions and 2017IHGHUDODQG0LVVRXULLQFRPHWD[UHIXQGV7UXVWHHLVDZDLWLQJWKHILOLQJRIFODLPV
                                                                                   Document             Page 8 of 12

07/12/18-Requested Claims Bar Date
08/02/18-Date of receipt of most recent payment                                                                                                                                          Exhibit 8
10/13/18-Reviewed claims
10/15/18-Reviewed Claims Register of Court to ascertain whether any additional claims had been filed; none were found (JSE)
10/22/18-Reviewed Claims Register of Court to ascertain whether any additional claims had been filed; none were found (JSE)
10/22/18-Submitted the TFR to the office of the U.S. Trustee
10/25/18-TFR filed with the Court by the office of the U.S. Trustee
10/29/18-Filed the NFR with the Court
11/21/18-Order entered approving the TFR
11/29/18-Distribution of funds sent in accordance with the TFR
12/21/18-Cessation of federal appropriation affecting United States Department of Justice and resulting in furloughs of portion of staff of United States Trustee
-TDR submitted to the office of the U.S. Trustee
-TDR filed with the Court by the office of the U.S. Trustee






Initial Projected Date of Final Report (TFR): 12/31/2018            Current Projected Date of Final Report (TFR): 12/31/2018




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                                                                                Document      Page  9 of 12 RECORD
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 18-40338                                                                                              Trustee Name: Jerald S. Enslein, Bankruptcy Trustee                       Exhibit 9
      Case Name: ALAN BAILEY CRAINE, JR.                                                                                    Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX8967
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX2573                                                                               Blanket Bond (per case limit): $16,000,000.00
For Period Ending: 01/29/2019                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                           ($)
   08/06/18                       The Law Offices of Tracy L. Robinson, LC   Nonexempt portions of 2017                                                      $2,462.22                                 $2,462.22
                                  Trust Account                              federal, Kansas, and Missouri
                                  818 Grand Blvd., Suite 505                 income tax refunds, cash, and
                                  Kansas City, MO 64106                      funds on deposit in financial
                                                                             accounts
                                                                             Nonexempt portions of 2017
                                                                             federal, Kansas, and Missouri
                                                                             income tax refunds, cash, and
                                                                             funds on deposit in financial
                                                                             accounts.

                                                                             Trustee was out of town when
                                                                             check was received; check was
                                                                             entered in Receipt Log on initial
                                                                             business date of return of
                                                                             Trustee to office (which
                                                                             represents the second
                                                                             business day following the date
                                                                             the check is believed to have
                                                                             been received).
                                                                             Gross Receipts                            $2,462.22

                        9                                                    Cash On Hand                                $50.00     1129-000

                        10                                                   Nbkc Bank                                   $47.58     1129-000

                        11                                                   Us Bank                                     $23.64     1129-000

                        15                                                   2017 federal and state income             $2,341.00    1224-000
                                                                             tax refunds (u)
   08/21/18           5001        International Sureties, LTD                Chapter 7 Blanket Bond                                 2300-000                                          $0.83            $2,461.39
                                  701 Poydras St., Suite 420                 #016070909
                                  New Orleans, LA 70139
   09/10/18                       Associated Bank                            Bank Service Fee under 11                              2600-000                                         $10.00            $2,451.39
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   10/05/18                       Associated Bank                            Bank Service Fee under 11                              2600-000                                         $10.00            $2,441.39
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)



                                                                                    Page Subtotals:                                                          $2,462.22               $20.83
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 18-40338                                                                                             Trustee Name: Jerald S. Enslein, Bankruptcy Trustee                      Exhibit 9
      Case Name: ALAN BAILEY CRAINE, JR.                                                                                   Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX8967
                                                                                                                                          Checking
  Taxpayer ID No: XX-XXX2573                                                                             Blanket Bond (per case limit): $16,000,000.00
For Period Ending: 01/29/2019                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                    7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                            ($)
   10/24/18                       Transfer to Acct # xxxxxx0294             Transfer of Funds                                     9999-000                                     $2,441.39                 $0.00



                                                                                                            COLUMN TOTALS                                  $2,462.22           $2,462.22
                                                                                                                  Less: Bank Transfers/CD's                    $0.00           $2,441.39
                                                                                                            Subtotal                                       $2,462.22               $20.83
                                                                                                                  Less: Payments to Debtors                    $0.00                $0.00
                                                                                                            Net                                            $2,462.22               $20.83




                                                                                   Page Subtotals:                                                             $0.00           $2,441.39
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 18-40338                                                                                               Trustee Name: Jerald S. Enslein, Bankruptcy Trustee                       Exhibit 9
      Case Name: ALAN BAILEY CRAINE, JR.                                                                                     Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0294
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX2573                                                                              Blanket Bond (per case limit): $16,000,000.00
For Period Ending: 01/29/2019                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                     6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                             ($)
   10/24/18                       Transfer from Acct # xxxxxx8967           Transfer of Funds                                       9999-000                $2,441.39                                   $2,441.39

   11/29/18           2001        Jerald S. Enslein                         Final distribution creditor                             2100-000                                         $615.56            $1,825.83
                                  Bankruptcy Trustee                        account # representing a
                                  4435 Main Street, Suite 920               payment of 100.00 % per court
                                  Kansas City, MO 64111-1945                order.
   11/29/18           2002        Jerald S. Enslein                         Final distribution creditor                             2200-000                                         $161.80            $1,664.03
                                  Bankruptcy Trustee                        account # representing a
                                  4435 Main Street, Suite 920               payment of 100.00 % per court
                                  Kansas City, MO 64111-1945                order.
   11/29/18           2003        National Bank of Kansas City              Final distribution to claim 2                           7100-000                                     $1,656.74                  $7.29
                                  c/o Bob Tinsman                           creditor account # representing
                                  8320 Ward Parkway                         a payment of 5.72 % per court
                                  Kansas City, MO 64114                     order.
   11/29/18           2004        PYOD, LLC its successors and assigns      Final distribution to claim 3                           7100-000                                           $7.29                $0.00
                                  as assignee of Synchron                   creditor account # representing
                                  Resurgent Capital Services                a payment of 5.72 % per court
                                  PO Box 19008                              order.
                                  Greenville, SC 29602


                                                                                                              COLUMN TOTALS                                 $2,441.39            $2,441.39
                                                                                                                    Less: Bank Transfers/CD's               $2,441.39                  $0.00
                                                                                                              Subtotal                                          $0.00            $2,441.39
                                                                                                                    Less: Payments to Debtors                   $0.00                  $0.00
                                                                                                              Net                                               $0.00            $2,441.39




                                                                                   Page Subtotals:                                                          $2,441.39            $2,441.39
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                                                                                        TOTAL OF ALL ACCOUNTS
                                                                                                                                         NET             ACCOUNT
                                                                                                      NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                            XXXXXX0294 - Checking                                                $0.00              $2,441.39                 $0.00
                                            XXXXXX8967 - Checking                                            $2,462.22                 $20.83                 $0.00
                                                                                                             $2,462.22              $2,462.22                 $0.00

                                                                                                     (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                             transfers)            to debtors)
                                            Total Allocation Receipts:                      $0.00
                                            Total Net Deposits:                          $2,462.22
                                            Total Gross Receipts:                        $2,462.22




                                                                     Page Subtotals:                                        $0.00                $0.00
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